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 AO 442 (Rev 11111) Arrest Warrant




                                         UNITED STATES DISTRICT COURT
                                                                            for the

                                                              Western District of Pennsylvania


                   United States of America
                               v.                                             )
                                                                              )       Case No.      Magistrate No. 24-2028
                                                                              )
                                                                              )          [UNDER SEAL]
                  JACK DANAHER MOLLOY
                                                                              )
                                                                              )
                             Defendant


                                                               ARREST WARRANT
To:       Any authorized law enforcement            officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                       delay
(name of person to be arrested)      JACK DANAHER MOLLOY
who is accused of an offense or violation based on the following document filed with the court:

o Indictment              0 Superseding Indictment                  0 Information        0 Superseding Information                 rlfComplaint
o Probation Violation Petition               0 Supervised Release Violation Petition                 0 Violation Notice            0 Order of the Court
This offense is briefly described as follows:

  Counts One and Two: Making a false statement or representation involving international terrorism to a Department                            or
  Agency of the United States, (18 U.S.C. §1001 (a)(2» (October 20-21, 2024)




Date:         12/06/2024
        ----------------
                                                                                                     Issuing officer·s signature

City and state:       Pittsburgh,    Pennsylvania                                  Honorable   Christo    her B. Brown, U.S. Ma
                                                                                                         Printed name and title


                                                                          Return

           This warrant was received on (date.).
at (city and stale)     C - "'-    0


Date:     IU q/)."
